                                                                                                                                                                                             Page:        1
                                      Case 16-57059-wlh     Doc 50    Filed 11/01/18 Entered 11/01/18 12:02:27                                          Desc
                                                                               FORM 1
                                                          INDIVIDUAL ESTATEPage  1 of 5
                                                                            PROPERTY  RECORD AND REPORT
                                                                                      ASSET CASES
Case No:             16-57059                       WLH   Judge:        Wendy L Hagenau                              Trustee Name:                        NEIL C GORDON, TRUSTEE
Case Name:           RANDAL J. WILLOUGHBY                                                                            Date Filed (f) or Converted (c):     04/22/2016 (f)
                                                                                                                     341(a) Meeting Date:                 05/25/2016
For Period Ending:   09/30/2018                                                                                      Claims Bar Date:                     08/30/2016


                                  1                                    2                            3                             4                            5                             6

                         Asset Description                           Petition/                Est Net Value               Property Formally               Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)              Unscheduled            (Value Determined by               Abandoned                    Received by                Administered (FA)/
                                                                     Values                Trustee, Less Liens,              OA=554(a)                     the Estate             Gross Value of Remaining
                                                                                               Exemptions,                                                                                 Assets
                                                                                             and Other Costs)

  1. 1428 OLD CANTON ROAD                                                  280,000.00                     5,686.00                                                         0.00                    2,734.00
     BALL GROUND GA 30107-0000 CHEROKEE
  2. 229 CONFEDERATE AVENUE                                                500,000.00                   107,990.54               OA                                        0.00                         FA
     JASPER GA 30143-0000 PICKENS
  3. 257 CONFEDERATE AVENUE                                                800,000.00                   172,784.87               OA                                        0.00                         FA
     JASPER GA 30143-0000 PICKENS
  4. 2009 DODGE 2500 MILEAGE: 300000                                        10,000.00                         0.00                                                         0.00                        0.00
  5. 1999 KUBOTA L3410 SECURED BY A BUSINESS LOAN                           10,000.00                         0.00                                                         0.00                        0.00
     WITH UNITED CO
  6. HOUSEHOLD GOODS                                                         3,000.00                         0.00                                                         0.00                        0.00
  7. WEARING APPAREL                                                             300.00                       0.00                                                         0.00                        0.00
  8. JEWELRY                                                                       0.00                       0.00                                                         0.00                        0.00
  9. CASH                                                                    1,200.00                         0.00                                                         0.00                        0.00
 10. SOUTHERN FIRE SERVICES AND SALES, INC.                                        0.00                       0.00                                                         0.00                        0.00
 11. TERM LIFE POLICY - UNITED COMMUNITY BANK IS THE                               0.00                       0.00                                                         0.00                        0.00
     BENEFICIARY
 12. 2000 GMC Sierra                                                         2,000.00                     2,000.00                                                         0.00                        0.00
 13. 2007 Dodge 3500 Diesel                                                 25,000.00                    25,000.00                                                         0.00                   25,000.00
 14. 2015 Federal Tax Refund (u)                                            Unknown                      Unknown                                                    15,174.50                     Unknown
 15. PREFERENCE/FRAUDULENT TRANSFERS (u)                                    Unknown                      Unknown                                                           0.00                   Unknown
 16. State of Gerogia Refund (u)                                             3,248.00                      248.00                                                          0.00                        0.00


                                                                                                                                                                        Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                    $1,634,748.00                 $313,709.41                                                   $15,174.50                    $27,734.00
                                                                                                                                                                        (Total Dollar Amount in Column 6)
                                                                                                                                                                              Page:   2
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Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                                                                                                                                                      Desc
                                                                                             Page 2 of 5
Trustee abandoned the estate interest in two tracts located on Confederate Avenue in Jasper, Georgia. There was no equity in the commercial property and possible
environmental issues. Debtor scheduled ownership of a 1999 Kubota L3410 and other vehicles which he claimed to be secured by a business loan with United Community an .
However, in Schedule D, he lists the lien as being in favor of Community an of Pic ens County. Debtor is to amend Schedule D to include the correct lender and amount owed.

Trustee has recovered the Debtor's 2015 federal tax refunds. The Debtor has recently amended his schedules to include the 2015 state refund which he has fully exempted.




Initial Projected Date of Final Report (TFR): 12/31/2017            Current Projected Date of Final Report (TFR): 12/31/2018

Trustee Signature:       /s/ NEIL C GORDON, TRUSTEE              Date: 11/01/2018
                         NEIL C GORDON, TRUSTEE
                         171 17th Street NW, Suite 2100
                         Atlanta GA 30363-1031
                         (404) 873-8596
                         (404) 873-8596
                         neil.gordon@agg.com
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                                     Case 16-57059-wlh                Doc 50 Filed 11/01/18
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                                                                   ESTATE CASH RECEIPTS AND3DISBURSEMENTS
                                                                                             of 5          RECORD
           Case No: 16-57059                                                                                        Trustee Name: NEIL C GORDON, TRUSTEE
      Case Name: RANDAL J. WILLOUGHBY                                                                                  Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX9167
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX8894                                                                          Blanket Bond (per case limit): $30,390,000.00
For Period Ending: 09/30/2018                                                                         Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                  6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                           ($)
                                                                         Balance Forward                                                                                                             $0.00

   02/06/17            14       United States Treasury                   2015 Federal Tax Refund                              1224-000                $15,174.50                               $15,174.50

   03/27/17                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $16.00          $15,158.50
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   04/25/17                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $22.55          $15,135.95
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/25/17                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $21.80          $15,114.15
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   06/26/17                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $22.49          $15,091.66
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/25/17                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $21.73          $15,069.93
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   08/25/17                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $22.42          $15,047.51
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/25/17                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $22.39          $15,025.12
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   10/25/17                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $21.64          $15,003.48
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/27/17                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $22.32          $14,981.16
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   12/26/17                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $21.58          $14,959.58
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/25/18                     Union Bank                               Bank Service Fee under 11                            2600-000                                         $22.26          $14,937.32
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)


                                                                                Page Subtotals:                                                       $15,174.50              $237.18
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                                                                  ESTATE CASH RECEIPTS AND4DISBURSEMENTS
                                                                                            of 5          RECORD
           Case No: 16-57059                                                                                         Trustee Name: NEIL C GORDON, TRUSTEE
      Case Name: RANDAL J. WILLOUGHBY                                                                                  Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX9167
                                                                                                                                      Checking
  Taxpayer ID No: XX-XXX8894                                                                         Blanket Bond (per case limit): $30,390,000.00
For Period Ending: 09/30/2018                                                                        Separate Bond (if applicable):


       1                2                         3                                              4                                                    5                   6                     7

Transaction Date    Check or            Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                            ($)
   02/26/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                         $22.23          $14,915.09
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   03/26/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                         $20.05          $14,895.04
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   04/25/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                         $22.16          $14,872.88
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   05/25/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                         $21.42          $14,851.46
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   06/25/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                         $22.10          $14,829.36
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   07/25/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                         $21.36          $14,808.00
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   08/27/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                         $22.03          $14,785.97
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   09/25/18                     Union Bank                              Bank Service Fee under 11                             2600-000                                         $22.00          $14,763.97
                                                                        U.S.C. 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)


                                                                                                        COLUMN TOTALS                                $15,174.50               $410.53
                                                                                                              Less: Bank Transfers/CD's                    $0.00                $0.00
                                                                                                        Subtotal                                     $15,174.50               $410.53
                                                                                                              Less: Payments to Debtors                    $0.00                $0.00
                                                                                                        Net                                          $15,174.50               $410.53




                                                                               Page Subtotals:                                                             $0.00              $173.35
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                                                                                                TOTAL OF ALL ACCOUNTS
                                                                                                                                                 NET             ACCOUNT
                                                                                                              NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                  XXXXXX9167 - Checking                                            $15,174.50                $410.53             $14,763.97
                                                                                                                   $15,174.50                $410.53             $14,763.97

                                                                                                             (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                     transfers)            to debtors)
                                                  Total Allocation Receipts:                        $0.00
                                                  Total Net Deposits:                           $15,174.50
                                                  Total Gross Receipts:                         $15,174.50



Trustee Signature:   /s/ NEIL C GORDON, TRUSTEE        Date: 11/01/2018

                     NEIL C GORDON, TRUSTEE
                     171 17th Street NW, Suite 2100
                     Atlanta GA 30363-1031
                     (404) 873-8596
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                     neil.gordon@agg.com




                                                                          Page Subtotals:                                           $0.00                $0.00
